Case 1:10-cv-00533-SS Document 247 Filed 03/21/14 Page 1 of 25

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

MONKEYMEDIA, INC.,
Plaintiff,
Vs. Civil Action No. 1:10-CV-00319

APPLE, INC.,
Defendant.

JURY TRIAL DEMANDED

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MONKEYMEDIA, INC.,
Plaintiff,

VS. Civil Action No. 1:10-CV-00533

BUENA VISTA HOME ENTERTAINMENT, JURY TRIAL DEMANDED
INC. d/b/a WALT DISNEY STUDIOS HOME
ENTERTAINMENT; TWENTIETH CENTURY
FOX HOME ENTERTAINMENT, LLC;
LIONS GATE ENTERTAINMENT CORP.;
PARAMOUNT PICTURES CORPORATION;
SONY PICTURES HOME ENTERTAINMENT;
SONY ELECTRONICS, INC.; SONY
COMPUTER ENTERTAINMENT AMERICA
LLC; WARNER HOME VIDEO, INC.; and
UNIVERSAL STUDIOS INC.,

Defendants.

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PLAINTIFF MONKEYMEDIA, INC.’S MOTION TO LIFT THE STAY
AND FOR LEAVE TO FILE SUPPLEMENTAL COMPLAINTS

To the Honorable Sam Sparks, Judge of said Court:

Plaintiff MONKEYmedia, Inc. respectfully requests that the Court lift the stay entered on
July 27, 2011 and grant leave for MONKEYmedia to file supplemental complaints in these
actions to assert infringement of new claims in U.S. Patent No. 6,393,158 (7158) that were
determined to be patentable by the United States Patent and Trademark Office, following

reexamination proceedings initiated by the Defendants. The Defendants, other than the Sony
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Defendants, do not oppose MONKEYmedia’s motion to lift the stay or its motion for leave to
file a supplemental complaint, provided that MONKEYmedia does not oppose Defendants’
request for an early supplemental Markman Hearing on the newly asserted claims, which they
will set forth in a Statement of Non-Opposition to be filed within 7 days of this motion. The
Sony Defendants have not yet determined if they will oppose this motion.

1, MONKEYmedia’s patents in the above-styled lawsuits are divided into two
distinct patent families: The “Seamless Contraction” patents and the “Seamless Expansion”
patents.

2. The Seamless Expansion patents, which include the °158 Patent, have been the
subject of reexamination proceedings in the USPTO. Based on these reexamination proceedings,
the Court stayed this litigation on July 27, 2011, until the USPTO had fully reexamined the °158
Patent and the other two Seamless Expansion patents-in-suit that are the subject of
reexamination. (Docket No. 105) ' In March 2013, this Court denied MONKEYmedia’s motion
to partially lift the stay and ordered the parties to promptly advise the Court when reexamination
proceedings at the USPTO are complete. (Doc. No. 122)

3. The reexamination proceedings at the USPTO are now complete. In the
reexamination of the °158 Patent, Claims 1-34 were cancelled, and new Claims 35-41 were
added and determined to be patentable. On October 1, 2013, MONKEYmedia formally
disclaimed all claims in U.S. Patent Nos. 7,890,648 (°648) and 7,467,218 (218) to bring an end

to those reexamination proceedings (which probably would not have otherwise been finally

Special Master Bayer issued his report and recommendations regarding construction of the

asserted claims in the Seamless Contraction patents on September 5, 2012. On February 22, 2013, the
Court accepted the Special Master’s Report and Recommendations. MONKEYmedia has notified
Defendants that, subject to MONKEYmedia’s right to fully appeal the claim construction issues,
MONKEY media is willing to stipulate that Defendants do not infringe the Seamless Contraction patents
based on the current claim construction. The Parties are in the process of preparing the necessary
pleadings reflecting this stipulation.

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concluded until at least 2015) and allow this litigation to proceed.

4, Thus, none of the patents-in-suit are presently subject to reexamination, the
proceedings before the USPTO are complete, and the Court’s reason for issuing the stay no
longer exists. Based on these developments, MONKEYmedia requests that the Court lift the stay
and allow the parties to proceed with their claims and defenses.

5. MONKEYmedia also requests that the Court grant leave, allowing
MONKEY media to file supplemental complaints to assert infringement of the new claims in the
°158 Patent that were allowed after reexamination and found to be patentable by the USPTO.
These new claims are based on the same specification and figures as the other claims that were
canceled in the reexamination proceeding. The Second Supplemental Complaint that
MONKEYmedia proposes to file in the “00319” action against Apple, Inc. is attached as Exhibit
2. The Supplemental Complaint that MONKEYmedia proposes to file in the “00533” action
against the Studio Defendants and Sony is attached as Exhibit 3.

WHEREFORE, PREMISES CONSIDERED, MONKEYmedia respectfully requests that
the Court lift the stay set out in the July 27, 2011 Order, and permit the parties to continue
prosecuting their claims and defenses. MONKEYmedia further requests that it be granted leave
to file a supplemental complaint in both actions to assert the new claims in the °158 Patent that
were allowed after reexamination and found to be patentable by the USPTO. MONKEYmedia
also requests such other and further relief to which it may be justly entitled.

[Signature Block is on next page]
Case 1:10-cv-00533-SS Document 247 Filed 03/21/14 Page 4 of 25

Respectfully submitted,

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ATTORNEYS FOR PLAINTIFF MONKEYMEDIA, INC.

CERTIFICATE OF CONFERENCE

I hereby certify that I discussed with Defendants’ counsel in both actions the relief that
MONKEYmedia intended to seek in this Motion. They subsequently confirmed by email that
Defendants, other than the Sony Defendants, do not oppose MONKEYmedia’s motion to lift the
stay or its motion for leave to file a supplemental complaint, provided that MONKEYmedia does
not oppose Defendants’ request for an early supplemental Markman Hearing on the newly
asserted claims, which they will set forth in a Statement of Non-Opposition to be filed within 7
days of this motion. According to counsel for the Sony Defendants, as of March 21, 2014, the
Sony Defendants have not yet determined if they will oppose this motion.

/s/ Steven D. Smit
Steven D. Smit

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CERTIFICATE OF SERVICE

I hereby certify that on March 21, 2014, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send notification of such filing to the following in
No. 1:10-CV-00319:

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I hereby certify that on March 21, 2014, I electronically filed the foregoing with the Clerk

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Case 1:10-cv-00533-SS Document 247 Filed 03/21/14 Page 6 of 25

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393158C

a2) EX PARTE REEXAMINATION CERTIFICATE (9522nd)

United States Patent
Gould et al.

ao) Number: US 6,393,158 C1
(45) Certificate Issued: Feb. 22, 2013

(54) METHOD AND STORAGE DEVICE FOR
EXPANDING AND CONTRACTING
CONTINUOUS PLAY MEDIA SEAMLESSLY

(75) Inventors: Eric Justin Gould. Austin, TX (US);

Rachel M. Strickland, San Francisco,
CA (US)
(73) Assignee: Monkey Media, Ine., Austin, 1X (US)

Reexamination Request:
No. 90/011,365, Dec. 3, 2010

Reexamination Certificate for:

Patent No.: 6,393,158
Issued: May 21, 2002
Appl. No.: 09/298,336
Filed: Apr. 23, 1999
(51) Int. CL.
G06K 9/40 (2006.01)
(52) US. CL ..... 382/254; 386/248; 386/343; 386/E5.07;
375/E7 004
(58) Field of Classification Search |... None
See application file for complete search history.
(56) References Cited

To view the complete listing of prior art documents cited
during the proceeding for Reexamination Control Number

90/011,365, please refer to the USPTO’s public Patent
Application Information Retrieval (PAIR) system under the
Display References tab.

Primary Examiner ~~ Rachna Desai

(57) ABSTRACT

One aspect of the invention is a method for playing a stored
content providing a plurality of segments which collectively
contains the stored content, each segment has using first ter-
minus and a second terminus with the content having a tem-
poral flow from the first terminus to the second terminus. At
least one segment is associated with a plurality of links to
other segments. The method includes playing at least one
segment with the temporal flow, determining whether a con-
tent expansion is desired prior to reaching the second termi-
nus. If the content expansion is desired, then linking to an
expansion segment and playing the expansion segment. Ifthe
content expansion is not desired, then linking to a continuing
segment and playing the continuing segment. The method
includes an additional link from the expansion segment to the
continuing segment such that the continuing segment is
played after the expansion segment has been played. Other
aspects of the invention include other methods for playing
stored content, for capturing and playing content, capturing
segment and linkage descriptions, storage devices of the seg-
ment content, storage mechanisms referencing the continu-
ous media content by segments and linkages and apparatus
for capturing and playing continuous media content.

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| Playing content having a |
temporal flow |
i :

Additional
content
indicated ?

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—s

Play continuing content
having the temparal flow
without appreciable delay

A196 p18

Done ?

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yom 184

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Play expansion content
having the temporal flow
without appreciable delay

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US 6,393,158 Cl

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EX PARTE
REEXAMINATION CERTIFICATE
ISSUED UNDER 35 U.S.C. 307

THE PATENT IS HEREBY AMENDED AS
INDICATED BELOW.

Matter enclosed in heavy brackets [ ] appeared in the
patent, but has been deleted and is no longer a part of the
patent; matter printed in italics indicates additions made
to the patent.

AS A RESULT OF REEXAMINATION, IT HAS BEEN
DETERMINED THAT:

Claims 1-34 are cancelled.

New claims 35-41 are added and determined to be
patentable.

35, A method for playing a stored content comprising:

providing a plurality of segments which collectively com-
prise said stored content, wherein each of said segments
has a first terminus and a second terminus; wherein
content in each of said segments has a temporal flow
from said first terminus to said second terminus, and
wherein at least one segment is associated with a plu-

rality of links to a corresponding plurality of other of

said segments;

playing said at least one segment with said temporal flow;

determining prior to reaching said second terminus
whether a content expansion is desired;

linking to an expansion segment and playing said expan-
sion segment if said content expansion is desired and to
a continuing segment and playing said continuing seg-
ment if said content expansion is not desired, where
there is an additional link from said expansion segment
to said continuing segment such that said continuing
segment is played afier said expansion segment has been
played;

wherein playing said segments further comprises high-
lighting an expansion segment cue corresponding to one
of said expansion links; and wherein determining prior
to reaching said second terminus whether a content
expansion is desired further comprises determining
whether said expansion segment cue is selected;

wherein playing said segments further comprises playing
at least one discernible entity and wherein highlighting
said expansion segment cue comprises highlighting
associated with one of said discernible entities;

wherein linking to said expansion segment and playing
said expansion segment further comprises playing a
transition from said highlighting said associated dis-
cernible entity to playing said expansion segment; and

wherein the additional link from said expansion segment to
said continuing segment comprises calculating the first
terminus of the continuing segment by reference to a
continuity link offset after determining whether a con-
tent expansion is desired and wherein playing said con-
linuing segment begins al said first terminus of said
continuing segment.

36. A method for playing a stored content as recited in

claim 35 wherein the continuity link offset is greater than zero.

37. A method for playing a stored content comprising:

providing a plurality of segments which collectively com-
prise said stored content, wherein each of said segments
has a first terminus and a second terminus, wherein
content in each of said segments has a temporal flow

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from said first terminus to said second terminus, and
wherein at least one segment is associated with a plu-
rality of links to a corresponding plurality of other of
said segments;

playing said at least one segment with said temporal flow;

determining prior to reaching said second terminus

whether a content expansion is desired;

linking to an expansion segment and plaving said expan-

sion segment if said content expansion is desired and to
a continuing segment and playing said continuing seg-
ment if said content expansion is not desired, where
there is an additional link from said expansion segment
to said continuing segment such that said continuing
segment is played after said expansion segment has been
played;

wherein playing said segments further comprises high-

lighting an expansion segment cue corresponding to one
of said expansion links; and wherein determining prior
to reaching said second terminus whether a content
expansion is desired further comprises determining
whether said expansion segment cue is selected; and
wherein said expansion segment cue is one of a plurality of
expansion cues in an expansion cue container:

38. A method for playing a stored content as recited in
claim 37 wherein determining whether said expansion seg-
ment cue has been selected further comprises determining if
the expansion cue container has been selected for visual
display.

39. A method for playing a stored content as recited in
claim 38 wherein determining whether said expansion seg-
ment cue has been selected further comprises causing selec-
tion of at least one other expansion cue from the plurality of
expansion cues if said expansion segment cue has been
selected.

40. A method for playing a stored content comprising:

providing a plurality of segments which collectively com-

prise said stored content, wherein each of said segments
has a first terminus and a second terminus; wherein
content in each of said segments has a temporal flow
from said first terminus to said second terminus, and
wherein at least one segment is associated with a plu-
rality of links to a corresponding plurality of other of
said segments;

playing said at least one segment with said temporal flow;

determining prior to reaching said second terminus

whether a content expansion is desired;

linking to an expansion segment and playing said expan-

sion segment if said content expansion is desired and to
a continuing segment and playing said continuing seg-
ment if said content expansion is not desired, where
there is an additional link from said expansion segment
to said continuing segment such that said continuing
segment is played after said expansion segment has been
played;

wherein playing said segments further comprises high-

lighting an expansion segment cue corresponding to one
of said expansion links;

wherein determining prior lo reaching said second termi-

nus whether a content expansion is desired further com-
prises determining whether said expansion segment cue
is selected;

wherein the expansion segment cue is visual and changes in

appearance if said expansion segment cue has been
selected; and

wherein the change in appearance of said expansion seg-

ment cue comprises expanding in size.
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41. A method for playing a stored content comprising:

providing a plurality of segments which collectively com-
prise said stored content, wherein each of said segments
has a first terminus and a second terminus; wherein
content in each of said segments has a temporal flow
from said first terminus to said second terminus, and
wherein at least one segment is associated with a plu-
rality of links to a corresponding plurality of other of
said segments,

playing said at least one segment with said temporal flow;

determining prior to reaching said second terminus
whether a content expansion is desired;

linking to an expansion segment and playing said expan-
sion segment if said content expansion is desired and to
a continuing segment and playing said continuing seg-
ment if said content expansion is not desired, where

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there is an additional link from said expansion segment
to said continuing segment such that said continuing
segment is played afier said expansion segment has been
played:

wherein playing said segments further comprises high-
lighting an expansion segment cue corresponding to one
of said expansion links;

wherein determining prior to reaching said second termi-
nus whether a content expansion is desired further com-
prises determining whether said expansion segment cue
is selected; and

wherein determining whether said expansion segment cue
is selected comprises determining whether the user has
made a motion to select said expansion cue without
pushing a button on a selector device.
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
MONKEYMEDIA, INC., )
) CIVIL ACTION NO. 1:10-cv-00319
Plaintiff,
vs ) JURY TRIAL DEMANDED

)

APPLE, INC.,
Defendant. )

SECOND SUPPLEMENTAL COMPLAINT

MONKEYmedia, Inc. brings this Second Supplemental Complaint against Apple, Inc. for
infringement of new claims in U.S. Patent No. 6,393,158 (158) that were determined to be
patentable by the United States Patent and Trademark Office, following reexamination.

L. PARTIES

l. Plaintiff MONKEYmedia, Inc. (“(MONKEYmedia”) is a Texas corporation with
its principal place of business in Austin, Texas.

2. Defendant Apple, Inc. (“Apple”) has appeared and answered herein.

I. JURISDICTION AND VENUE

3. Plaintiff MONKEYmedia asserts causes of action under 35 U.S.C. § 271 for
infringement of the °158 Patent. This Court has original and exclusive subject matter jurisdiction
over these claims under 28 U.S.C. §§ 1331 and 1338(a).

4, Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 1400(b).

Ill. The’158 Patent

5. As described in Plaintiff's underlying Complaint, Eric Gould Bear, the founder of

MONKEYmedia, is a prolific inventor and is named as the first inventor in over 100 patents and
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patent applications. The °158 Patent is in the “Seamless Expansion” patent family. The
inventions in the Seamless Expansion patent family, which were conceived by Bear and his co-
inventor at least as early as 1994, concern the display of optional content in the context of audio-
visual content streams. MONKEYmedia is the owner by assignment of all right, title and
interest in and to the °158 Patent.

6. After MONKEYmedia filed the above-referenced lawsuit, defendants in this
action and a related action filed a request for ex parte reexamination of the ’158 Patent on
December 3, 2010. This petition was granted, and, based on the reexamination, Claims 1-34
were cancelled, and new Claims 35-41 were added and determined to be patentable. A true and
correct copy of the “Ex Parte Reexamination Certificate Issued Under 35 U.S.C. §307”, which
was issued on February 22, 2013, is attached hereto as Exhibit 1.

7. The relevant claims in the °158 Patent are generally directed towards methods for
playing stored content, such as audiovisual content on DVDs and Blu-ray discs, by playing a
“main” video segment and determining whether a content expansion is desired. If a content
expansion is desired, then the expansion is played rather than the next (“continuing”) segment of
the main video. After the viewer finishes with the expansion, the main video resumes. If a
content expansion is not desired, the continuing segment of the main video is played.

8. The methods claimed in the ’158 Patent are also relevant to the playing of certain
interactive ads and similar content on computers, including mobile devices. For example, Apple
has introduced iPhone and iPod Touch devices with the iOS operating system and also
introduced the iPad. These devices have a platform that allows advertisers to display a banner or
other cue on the device while a user is listening to audio or watching a video in a particular

application. If the system running the application determines that the content expansion is
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desired by the viewer (i.e. the viewer has clicked on the banner), the device pauses the main
audio and/or video and causes the ad or other expansion content to take over the screen and play
in the application rather than playing the next (“continuing”) portion of the main audio and/or
video. After the viewer finishes with the expansion, the main audio and/or video resumes. If the
expansion content is not desired, the device plays the next portion of the main audio and/or
video.

IV. CAUSES OF ACTION

Infringement of the °158 Patent

9. MONKEYmedia reincorporates by reference and realleges paragraphs | through
8 above as if fully set forth herein.

10. Apple has, without authority, consent, right, or license, and in direct infringement
of the °158 Patent in violation of 35 U.S.C. § 271(a), practiced the methods claimed in the °158
Patent. Specifically, products manufactured, sold and offered for sale by Apple practice each
step of the methods in one or more of claims 35-41 of the °158 Patent.

11. Moreover, Apple has indirectly infringed the *158 Patent in connection with its
products in violation of 35 U.S.C. § 271(b), by actively inducing third parties, such as
advertisers, developers and/or users to directly infringe the claims of the °158 Patent. This active
inducement includes encouraging such parties to directly infringe the °158 Patent by carrying out
the methods disclosed in those claims on the Apple Devices.

12. Apple has also created and/or distributed in the United States, features
incorporated into its products, knowing that such features are especially made and adapted for
use in infringing the ’158 Patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use. Third parties, such as advertisers, developers and/or users directly
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infringe these claims by practicing the methods in connection with Apple devices that provide
the opportunity for Seamless Expansion. This conduct by Apple constitutes contributory
infringement under 35 U.S.C. § 271(c).

V. JURY DEMAND

13. MONKEYmedia demands a trial by jury on all issues.
VI. PRAYER
14. WHEREFORE, MONKEYmedia respectfully requests the following relief:

(a) That this Court find Apple has committed acts of patent infringement in violation
of the Patent Act, 35 U.S.C. § 271;

(b) That this Court enter judgment that:

(1) MONKEYmedia is the owner of the MONKEYmedia °158 Patent and all
rights of recovery thereunder;

(ii) The MONKEYmedia ’158 Patent is valid and enforceable; and
(iii) | Apple has infringed the MONKEYmedia *158 Patent;

(c) That, after trial, this Court enter an injunction enjoining Apple, its officers,
agents, servants, employees, and attorneys, and any other person in active concert or
participation with them, from continuing the acts herein complained of, and more particularly,
that Apple and such other persons be permanently enjoined and restrained from further
infringing the MONKEYmedia ’158 Patent, including in connection with the accused products;

(d) That this Court require Apple to file with this Court, within thirty (30) days after
the entry of final judgment, a written statement under oath setting forth in detail the manner in
which Apple has complied with the injunction;

(e) That the Court award MONKEYmedia damages of no less than a reasonable
royalty that have been incurred as a result of Apple’s patent infringement, with pre-judgment
interest;

(f) That this Court award MONKEYmedia its costs and disbursements in this action;

(g) That this Court award MONKEYmedia post-judgment interest on all amounts
awarded to it, at the maximum rate allowed by law; and
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Qj) That this Court grant MONKEYmedia all further relief to which it may be
entitled.

Respectfully submitted,

GRAVES, DOUGHERTY, HEARON & Mooby

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William G. Christian
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Matthew C. Powers
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ATTORNEYS FOR PLAINTIFF
MONKEYMEDIA, INC.
Case 1:10-cv-00533-SS Document 247 Filed 03/21/14 Page 14 of 25

CERTIFICATE OF SERVICE

I hereby certify that on March 21, 2014, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send notice of this filing to the following:

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Steven D. Smit

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

MONKEYMEDIA, INC., CIVIL ACTION NO.: 1:10-CV-00533
Plaintiff,

JURY TRIAL DEMANDED

VS.

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)

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)
BUENA VISTA HOME ENTERTAINMENT, )
INC. d/b/a WALT DISNEY STUDIOS HOME )
ENTERTAINMENT; TWENTIETH CENTURY _ )
FOX HOME ENTERTAINMENT, LLC; )
LIONS GATE ENTERTAINMENT INC.; )
PARAMOUNT PICTURES CORPORATION, )
SONY PICTURES HOME ENTERTAINMENT; _ )
SONY ELECTRONICS, INC.; SONY )
COMPUTER ENTERTAINMENT AMERICA )
LLC; WARNER HOME VIDEO, INC.; and )
UNIVERSAL STUDIOS INC., )
)

)

)

Defendants.

SUPPLEMENTAL COMPLAINT FOR PATENT INFRINGEMENT

MONKEYmedia, Inc. brings this Supplemental Complaint for infringement of new
claims in U.S. Patent No. 6,393,158 (7158) against Buena Vista Home Entertainment, Inc. d/b/a
Walt Disney Studios Home Entertainment (“Disney”); Twentieth Century Fox Home
Entertainment, LLC, (“Fox”); Lions Gate Entertainment Inc. (“Lions Gate”); Paramount Home
Entertainment, a division of Paramount Pictures Corporation (“Paramount”); Sony Pictures
Home Entertainment, Sony Electronics, Inc. and Sony Computer Entertainment America LLC
(“Sony”); Warner Home Video, Inc. (“Warner”); and Universal Studios Home Entertainment, a
division of Universal Studios Inc. (“Universal”). Defendants, other than Sony Electronics, Inc.,
and Sony Computer Entertainment America LLC, are collectively referred to herein as the

“Studio Defendants”.
Case 1:10-cv-00533-SS Document 247 Filed 03/21/14 Page 16 of 25

I. PARTIES

1. Plaintiff MONKEYmedia, Inc. (“(MONKEYmedia”) is a Texas corporation with
its principal place of business in Austin, Texas.

2. Defendant BUENA VISTA HOME ENTERTAINMENT, INC. d/b/a WALT
DISNEY STUDIOS HOME ENTERTAINMENT has appeared and answered in this cause.

3. Defendant TWENTIETH CENTURY FOX HOME ENTERTAINMENT, LLC,
has appeared and answered in this cause.

4. Defendant LIONS GATE ENTERTAINMENT INC. , which is being substituted
as a defendant for LIONS GATE ENTERTAINMENT CORP., has appeared and answered in
this cause.

5. Defendant PARAMOUNT HOME ENTERTAINMENT is a_ division of
PARAMOUNT PICTURES CORPORATION and has appeared and answered in this cause.

6. Defendant SONY PICTURES HOME ENTERTAINMENT has appeared and
answered in this cause.

7. Defendant SONY ELECTRONICS, INC. has appeared and answered in this
cause.

8. Defendant SONY COMPUTER ENTERTAINMENT AMERICA, LLC has
appeared and answered in this cause.

9. Defendant WARNER HOME VIDEO, INC. has appeared and answered in this
cause.

10. | Defendant UNIVERSAL STUDIOS HOME ENTERTAINMENT is a division of

UNIVERSAL STUDIOS INC. and has appeared and answered in this cause.
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Il. JURISDICTION AND VENUE

11. Plaintiff MONKEYmedia asserts causes of action under 35 U.S.C. § 271 for
infringement of United States Patents owned by MONKEYmedia. This Court has original and
exclusive subject matter jurisdiction over these claims under 28 U.S.C. §§ 1331 and 1338(a).
Sony Electronics, Inc., Sony Computer Entertainment America LLC and the Studio Defendants
are each subject to personal jurisdiction, because each Defendant has transacted business in this
state, contracted to supply services or products in this state, and/or caused tortious injury in this
state.

12, Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 1400(b).
Sony Electronics, Inc., Sony Computer Entertainment America LLC and the Studio Defendants
each conduct business within this district. Additionally, events giving rise to this suit occurred in

this district, including acts of infringement by each of the Defendants.

Ill. MONKEYmedia’s PATENTS

13. As described in Plaintiff's underlying Complaint, Eric Gould Bear, the founder of
MONKEYmedia, is a prolific inventor and is named as the first inventor in over 100 patents and
patent applications. The °158 Patent is in the “Seamless Expansion” patent family. The
inventions in the Seamless Expansion patent family, which were conceived by Bear and his co-
inventor at least as early as 1994, concern the display of optional content in the context of audio-
visual content streams. MONKEYmedia is the owner by assignment of all right, title and
interest in and to the °158 Patent.

14. After MONKEYmedia filed the above-referenced lawsuit, defendants in this

action and a related action filed a request for ex parte reexamination of the °158 Patent on
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December 3, 2010. This petition was granted, and, based on the reexamination, Claims 1-34
were cancelled, and new Claims 35-41 were added and determined to be patentable. A true and
correct copy of the “Ex Parte Reexamination Certificate Issued Under 35 U.S.C. §307”, which
was issued on February 22, 2013, is attached hereto as Exhibit 1.

15. The relevant claims in the 7158 Patent are generally directed towards methods for
playing stored content, such as audiovisual content on DVDs and Blu-ray discs, by playing a
“main” video segment and determining whether a content expansion is desired. If a content
expansion is desired, then the expansion is played rather than the next (“continuing”) segment of
the main video. After the viewer finishes with the expansion, the main video resumes. If a
content expansion is not desired, the continuing segment of the main video is played.

IV. INFRINGEMENT IN CONNECTION WITH DVD AND BLU-RAY DISCS

16. One category of special features commonly included by Studio Defendants on
DVDs and Blu-ray discs, allows a viewer watching a movie on a device with a DVD or Blu-ray
player to access and view “bonus” content, such as “behind the scenes” featurettes, and then
resume watching the movie after finishing with the “bonus” content. MONKEYmedia refers to
this category of special features as “Seamless Expansion.” On DVDs having the opportunity for
Seamless Expansion, a viewer usually is alerted to the existence of bonus content pertaining to a
particular scene by the display of a cue during that scene. If the cue is selected, the movie
appears to pause and the bonus content is displayed. When the bonus content is finished, the
movie resumes. If the cue is not selected, the cue display typically disappears after a few
seconds, and the “bonus” content no longer is available for viewing in the context of that scene.
This type of Seamless Expansion is referred to by MONKEYmedia as “Scripted Seamless

Expansion.”
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17. On Blu-ray discs having Seamless Expansion, the viewer may be presented with a
cue about available “bonus” content during particular scenes (“Scripted Seamless Expansion”)
and/or may be able to use the Blu-ray player to access expansion content at any time while
watching the movie —a feature that MONKEYmedia calls “Impromptu Seamless Expansion.” In
either scenario, if the viewer chooses to watch the expansion content, the main video is paused
and the expansion content is displayed. When the viewer is finished with the expansion content,
the main video resumes.

18. By creating and/or distributing DVDs and Blu-ray discs that provide opportunities
for Seamless Expansion, each of the Studio Defendants has infringed claims in the °158 Patent.
The full extent of each of the Studio Defendants’ infringement in connection with discs cannot
be known without obtaining discovery from the Studio Defendants about the creation of the discs
having “bonus content” and special features to accompany movies and other audiovisual content.

V. INFRINGEMENT IN CONNECTION WITH MANUFACTURE AND
SALE OF DVD AND BLU-RAY PLAYERS

19. In addition to creating and/or distributing infringing DVDs and Blu-ray discs
through Sony’s Home Entertainment arm, Sony also manufactures, sells and offers to sell
entertainment systems, computer systems and stand-alone players for playing Sony’s own
infringing DVD and Blu-ray discs and the infringing discs of the other companies, including the
Studio Defendants. For example, Defendant Sony Electronics, Inc., manufactures and sells stand-
alone DVD and Blu-ray players, and home theater systems, as well as Vaio® laptop computers
and Vaio® all-in-one desktop PCs. As another example, defendant Sony Computer
Entertainment America LLC manufactures and sells the popular PlayStation® “entertainment
systems” which have a DVD and/or Blu-ray player. Each of these products has the ability to

play infringing DVD and/or Blu-ray discs having opportunities for Seamless Expansion.
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20. The DVD and Blu-Ray players manufactured and/or sold by Sony that perform
Seamless Expansion when select Discs are playing are collectively referred to herein as the
“Sony Infringing Players”.

VI. INFRINGEMENT _IN CONNECTION WITH MANUFACTURE AND
SALE OF COMPUTERS AND MOBILE DEVICES

21. The methods claimed in the ?158 Patent are also relevant to the playing of certain
interactive ads and similar content on computers, including mobile devices. For example, Sony
has introduced a line of mobile devices under the name Sony Xperia. These devices have a
platform that allows advertisers to display a banner or other cue on the device while a user is
listening to audio or watching a video in a particular application. If the system running the
application determines that the content expansion is desired by the viewer (i.e. the viewer has
clicked on the banner), the device pauses the main audio and/or video and causes the ad or other
expansion content to take over the screen and play in the application rather than playing the next
(“continuing”) portion of the main audio and/or video. After the viewer finishes with the
expansion, the main audio and/or video resumes. If the expansion content is not desired, the
device plays the next portion of the main audio and/or video.

22, The mobile devices and computers manufactured and/or sold by Sony that
perform Seamless Expansion when select applications are playing are collectively referred to

herein as the “Sony Infringing Devices”.

VII. CAUSES OF ACTION

Infringement of the ’?158 Patent (Sony Infringing Players and Devices)

23. MONKEYmedia reincorporates by reference and realleges paragraphs | through

22 above as if fully set forth herein.
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24. Sony has, without authority, consent, right, or license, and in direct infringement
of the °158 Patent in violation of 35 U.S.C. § 271(a), practiced the methods claimed in the *158
Patent. Specifically, Sony Infringing Players practice each step of the methods claimed in one or
more of claims 35-41 of the *158 Patent when playing a DVD or Blu-ray dise with the
opportunity for Seamless Expansion. Alternatively, Sony Infringing Players, in combination
with Sony DVDs and/or Blu-ray discs providing the opportunity for Seamless Expansion,
practice each step of the methods claimed in one or more of claims 35-41 of the *158 Patent.
Moreover, the Sony Infringing Devices practice each step of the methods claimed in one or
more of claims 35-41 of the °158 Patent when playing video and/or audio through an application
that provides Seamless Expansion.

25. Sony has also indirectly infringed the *158 Patent in connection with Sony
Infringing Players and Sony Infringing Devices in violation of 35 U.S.C. § 271(b), by actively
inducing viewers to directly infringe one or more of claims 35-41 of the °158 Patent. This active
inducement includes encouraging viewers to directly infringe the 7158 Patent by using Sony
Infringing Players and Sony DVDs or Blu-ray discs that allow for Seamless Expansion, to
practice the methods in the identified claims.

26. As a result of Sony’s infringement of the ’158 Patent in connection with Sony
Infringing Players and Sony Infringing Devices, MONKEYmedia has been damaged, and will

continue to be damaged unless Sony is enjoined by this Court.

B. Infringement of the 7158 Patent (Studio Defendants’ DVD _ and Blu-
ray Discs)

27. MONKEYmedia reincorporates by reference and realleges paragraphs | through

22 above as if fully set forth herein.
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28. Each of the Studio Defendants has indirectly infringed the °158 Patent by actively
inducing manufacturers of DVD and Blu-ray players and/or end users to directly infringe one or
more of claims 35-41 of the ’158 Patent. This active inducement includes encouraging end users
to purchase DVDs and Blu-ray discs that allow for Seamless Expansion, knowing that the
viewers will use their DVD/Blu-ray players to directly infringe the °158 Patent by carrying out
the methods disclosed in those claims. Upon information and belief, Sony’s wrongful
inducement is especially blatant because it actively encourages such users to purchase Sony
DVDs and Blu-ray discs that allow for Seamless Expansion and play them on Sony Infringing
Players to directly infringe one or more of claims 35-41 of the °158 Patent. This conduct
constitutes infringement under 35 U.S.C. 3 271(b).

29. Each of the Studio Defendants has also created and/or distributed in the United
States, features incorporated into the DVDs and Blu-ray discs that allow for Seamless
Expansion, knowing that such features are especially made and adapted for use in infringing the
methods described in one or more of claims 35-41 of the °158 Patent, and not a staple article or
commodity of commerce suitable for substantial non-infringing use. The manufacturers of DVD
and Blu-ray players and/or end users directly infringe these claims by carrying out the methods
disclosed in those claims when playing a DVD or Blu-ray disc that allows for Seamless
Expansion. This conduct by the Studio Defendants constitutes contributory infringement under
35 ULS.C. § 271 (c).

30. As a result of the Defendants’ infringement of the °158 Patent, MONKEYmedia
has been damaged, and will continue to be damaged unless each of the Defendants is enjoined by

this Court.
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VI. JURY DEMAND

31. MONKEYmedia demands a trial by jury on all issues.

IX. PRAYER

30. WHEREFORE, MONKEYmedia respectfully requests the following relief:

(a) That this Court find each of the Defendants has committed acts of patent
infringement in violation of the Patent Act, 35 U.S.C. § 271;

(b) That this Court enter judgment that:

(i) MONKEYmedia is the owner of the MONKEYmedia °158 Patent and all
rights of recovery thereunder;

(11) The MONKEYmedia ’158 Patent is valid and enforceable; and
(iii) | Each Defendant has infringed the MONKEYmedia °158 Patent;

(c) That, after trial, this Court enter an injunction enjoining each Defendant, its
officers, agents, servants, employees, and attorneys, and any other person in active concert or
participation with them, from continuing the acts herein complained of, and more particularly,
that each Defendant and such other persons be permanently enjoined and restrained from further
infringing the MONKEYmedia 7158 Patent, including in connection with the accused products;

(d) That this Court require each Defendant to file with this Court, within thirty (30)
days after the entry of final judgment, a written statement under oath setting forth in detail the
manner in which each Defendant has complied with the injunction;

(e) That the Court award MONKEYmedia damages of no less than a reasonable
royalty that have been incurred as a result of Defendants’ patent infringement, with pre-judgment
interest;

(f) That this Court award MONKEYmedia its costs and disbursements in this action;

(g) That this Court award MONKEYmedia post-judgment interest on all amounts
awarded to it, at the maximum rate allowed by law; and

Qj) That this Court grant MONKEYmedia all further relief to which it may be
entitled.
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Respectfully submitted,

GRAVES, DOUGHERTY, HEARON & Mooby

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ATTORNEYS FOR PLAINTIFF
MONKEYMEDIA, INC.

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CERTIFICATE OF SERVICE

I hereby certify that on the 21st day of March, 2014, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification to the following:

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